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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   JOSHUA ASKIN, individually and on                  Case No.: 17-CV-1530 JLS (JLB)
     Behalf of All Others Similarly Situated,
12
                                       Plaintiff,       ORDER DENYING MOTION TO
13                                                      STAY
     v.
14
                                                        (ECF No. 21)
     GLOBAL EXCHANGE VACATION
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     CLUB, GLOBAL EXCHANGE
16   DEVELOPMENT CORP., GLOBAL
     VACATIONS MARKETING CORP.,
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     RESORT VACATIONS, INC.,
18   RICHARD SARGENT, DOES 1-10, ABC
     CORPORATIONS 1-10, ZYZ, LLC's 1-
19
     10, Inclusive,
20                                  Defendants.
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22         Presently before the Court is Plaintiff Joshua Askin’s Motion to Stay Proceedings,
23   (“MTN,” ECF No. 21).        The Motion is unopposed.         Having considered Plaintiff’s
24   arguments, the Court rules as follows.
25         Courts have the discretionary power to stay proceedings. Ali v Trump, 241 F. Supp.
26   3d 1147, 1152 (W.D. Wash. 2017) (citing Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)).
27   In determining whether to grant a motion to stay, “the competing interests [that] will be
28   affected by the granting or refusal to grant a stay must be weighed.” Lockyer v. Mirant

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 1   Corp., 398 F.3d 1098, 1110 (9th Cir. 2005) (citing CMAX, Inc. v. Hall, 300 F.2d 265, 268
 2   (9th Cir. 1962)). Those interests include: (1) “the possible damage which may result from
 3   the granting of a stay,” (2) “the hardship or inequity which a party may suffer in being
 4   required to go forward,” and (3) “the orderly course of justice measured in terms of the
 5   simplifying or complicating of issues, proof, and questions of law which could be expected
 6   to result from a stay.” Id.
 7         Here, the parties are in the discovery process. Magistrate Judge Burkhardt has
 8   granted Plaintiff’s motions for extension of time to complete discovery on three occasions,
 9   (ECF Nos. 14, 18, 20), as well as twice granting motions to extend the deadline for filing
10   a class certification motion, (ECF Nos. 14, 18). Plaintiff’s pending Motion to Stay explains
11   that he has identified a third-party entity necessary to determine the identity of whomever
12   called Plaintiff in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et
13   seq., (MTN 2–3). This third party is in Texas and has not responded to Plaintiff’s subpoena.
14   (Id. at 2.) Plaintiff states that he is pursuing a motion to compel against the third party in
15   the State of Texas. (Id.)
16         Plaintiff argues a stay of proceedings will preserve judicial resources because
17   Plaintiff “will likely be forced to file a duplicative cause of action against Defendants if he
18   is not permitted addition [sic] time to obtain discovery that identifies the owner and
19   operator of the phone number at issue in the case.” (Id. at 3 (citation omitted).) Next,
20   Plaintiff contends that a stay will not prejudice Defendants and Plaintiff points out that
21   Defendants have stipulated to the stay. (Id.) Finally, Plaintiff asserts that he will be unduly
22   burdened if he is not permitted additional time to pursue his subpoena. (Id. at 4.) Plaintiff
23   hypothesizes that if he is not allowed additional time then all his efforts to pursue this
24   litigation will be for naught. (Id.)
25         At its core, Plaintiff’s Motion to Stay is a request for an extension of time to complete
26   discovery. This is evident from Plaintiff’s arguments that he will be forced to file a
27   duplicative action and that he will be unduly burdened if he is not permitted additional time
28   to obtain discovery. The proper vehicle for Plaintiff’s request was to file a motion for

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 1   extension of time to complete discovery. Instead, he filed a Motion to Stay. Plaintiff
 2   speculates he will be forced to file duplicative litigation without the stay.   He further
 3   theorizes that this Motion to Stay is necessary to avoid undue hardship and inequity. The
 4   Court recognizes these concerns; however, Plaintiff has not asked for a further extension
 5   of time from Magistrate Judge Burkhardt. Until he does so, Plaintiff’s concerns about
 6   undue hardship and inequity remain hypothetical and not concrete. The balance of interests
 7   do not warrant a stay when a narrower remedy—a renewed motion to extend time for
 8   discovery—exists.
 9         Accordingly, the Court DENIES Plaintiff’s Motion to Stay, (ECF No. 21). Plaintiff
10   may pursue an extension of time to complete discovery with Magistrate Judge Burkhardt.
11         IT IS SO ORDERED.
12   Dated: June 5, 2018
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